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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF SOUTH CAROLINA

Case number (if known)                                                     Chapter       7
                                                                                                                        o Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                O'Neal Constructors, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  10 Falcon Crest Drive                                         PO Box 10269
                                  Greenville, SC 29607                                          Greenville, SC 29603
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Greenville                                                    Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.onealinc.com/epc-project-delivery/construction/


6.   Type of debtor               n Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  o Partnership (excluding LLP)
                                  o Other. Specify:




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Debtor    O'Neal Constructors, LLC                                                                     Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                      o Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                      o Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                      o Railroad (as defined in 11 U.S.C. § 101(44))
                                      o Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                      o Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                      o Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                      n None of the above
                                      B. Check all that apply
                                      o Tax-exempt entity (as described in 26 U.S.C. §501)
                                      o Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                      o Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               5413

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                   n Chapter 7
                                      o Chapter 9
                                      o Chapter 11. Check all that apply:
                                                       o Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                           o     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                           o     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                           o     A plan is being filed with this petition.
                                                           o     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                           o     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                           o     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                      o Chapter 12
9.   Were prior bankruptcy            n No.
     cases filed by or against
     the debtor within the last 8     o Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                  Case number
                                                District                                  When                                  Case number

10. Are any bankruptcy cases          n No
    pending or being filed by a
    business partner or an            o Yes.
    affiliate of the debtor?




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Debtor    O'Neal Constructors, LLC                                                                      Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                        Debtor                                                                    Relationship
                                                   District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                       n      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       o      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or             n No
    have possession of any
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal          o Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                  o It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard?
                                                  o It needs to be physically secured or protected from the weather.
                                                  o It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                    livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                  o Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                  o No
                                                  o Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                               o Funds will be available for distribution to unsecured creditors.
                                               n After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                o 1-49                                          o 1,000-5,000                              o 25,001-50,000
    creditors                          o 50-99                                         o 5001-10,000                              o 50,001-100,000
                                       o 100-199                                       o 10,001-25,000                            o More than100,000
                                       n 200-999

15. Estimated Assets                   o $0 - $50,000                                  o $1,000,001 - $10 million                 o $500,000,001 - $1 billion
                                       o $50,001 - $100,000                            o $10,000,001 - $50 million                o $1,000,000,001 - $10 billion
                                       o $100,001 - $500,000                           n $50,000,001 - $100 million               o $10,000,000,001 - $50 billion
                                       o $500,001 - $1 million                         o $100,000,001 - $500 million              o More than $50 billion

16. Estimated liabilities              o $0 - $50,000                                  o $1,000,001 - $10 million                 o $500,000,001 - $1 billion
                                       o $50,001 - $100,000                            o $10,000,001 - $50 million                o $1,000,000,001 - $10 billion
                                       o $100,001 - $500,000                           n $50,000,001 - $100 million               o $10,000,000,001 - $50 billion
                                       o $500,001 - $1 million                         o $100,000,001 - $500 million              o More than $50 billion




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Debtor    O'Neal Constructors, LLC                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 6, 2025
                                                  MM / DD / YYYY


                             X /s/ Kevin Bean                                                             Kevin Bean
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X /s/ Randy A. Skinner                                                        Date February 6, 2025
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Randy A. Skinner
                                 Printed name

                                 Skinner Law Firm, LLC
                                 Firm name

                                 300 North Main Street, Suite 201
                                 Greenville, SC 29601
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (864) 232-2007                Email address      main@skinnerlawfirm.com

                                 05412 SC
                                 Bar number and State




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B2030 (Form 2030) (12/15)
                                                      United States Bankruptcy Court
                                                               District of South Carolina
 In re       O'Neal Constructors, LLC                                                                         Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 24,662.00
             Prior to the filing of this statement I have received                                        $                 24,662.00
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:

             n Debtor           o Other (specify):

3.   The source of compensation to be paid to me is:

             n Debtor           o Other (specify):

4.       n I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
         o I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
     e. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Services not related to the bankruptcy case.
             Disputes as to claims filed by Creditors.
             Representation at any motion for relief from stay or negotiation of any settlement brought by the trustee or a
             Creditor as a result of Debtor's failure to comply with the Plan.
             Any court appearance or preparation of any motions or response to motions after the confirmation hearing
             including but not limited to amended Chapter 13 plans.
             Conversion from Chapter 13 to Chapter 7 or from Chapter 7 to Chapter 13.
             Adversary proceedings and appeals (including but not limited to Objections to Discharge, Objections to the
             Dischagability of any particular debt and Failing to Disclose or Withholding Assets and/or Creditors from the
             Court).
             Should an Amendment be necessary to add any Creditors or make any changes to the Petition, said Amendment
             shall be prepared by Attorney for additional compensation of $130.00 per Creditor, asset or other disclosure.
             Any additional services required not included in the original fee will be compensated at the rate of $450.00 per
             hour Attorney time, $250.00 per hour Associate time, and $150.00 per hour paralegal time.
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                                                  Debtor(s)

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   February 6, 2025                                                      /s/ Randy A. Skinner
   Date                                                                  Randy A. Skinner
                                                                         Signature of Attorney
                                                                         Skinner Law Firm, LLC
                                                                         300 North Main Street, Suite 201
                                                                         Greenville, SC 29601
                                                                         (864) 232-2007 Fax: (864) 232-8496
                                                                         main@skinnerlawfirm.com
                                                                         Name of law firm
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                                                   LOCAL OFFICIAL FORM 1007-1(b) TO SC LBR 1007-1

                                                              United States Bankruptcy Court
                                                                      District of South Carolina
 In re      O'Neal Constructors, LLC                                                                      Case No.
                                                                                  Debtor(s)               Chapter    7


                                           CERTIFICATION VERIFYING CREDITOR MATRIX
         The above named debtor, or attorney for the debtor if applicable, hereby certifies pursuant to South Carolina Local
Bankruptcy Rule 1007-1 that the master mailing list of creditors submitted either on computer diskette, electronically filed via
CM/ECF, or conventionally filed in a typed hard copy scannable format which has been compared to, and contains identical
information to, the debtor's schedules, statements and lists which are being filed at this time or as they currently exist in draft form.

            Master mailing list of creditors submitted via:

                        (a)                  computer diskette

                        (b)           scannable hard copy
                        (number of sheets submitted       )

                        (c)         X     electronic version filed via CM/ECF


 Date: February 6, 2025                                                /s/ Kevin Bean
                                                                       Kevin Bean
                                                                       Signature of Debtor

                                                                       /s/ Randy A. Skinner
                                                                       Signature of Attorney
                                                                       Randy A. Skinner
                                                                       Skinner Law Firm, LLC
                                                                       300 North Main Street, Suite 201
                                                                       Greenville, SC 29601
                                                                       (864) 232-2007
                                                                       Typed/Printed Name/Address/Telephone

                                                                       05412 SC
                                                                       District Court I.D. Number




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                        SOUTH CAROLINA DEPT OF REVENUE
                        P.O. BOX 12265
                        COLUMBIA SC 29211


                        INTERNAL REVENUE SERVICE
                        CENTRALIZED INSOLVENCY OPERATIONS
                        PO BOX 7346
                        PHILADELPHIA PA 19101-7346


                        A CLEAN POTTY, INC.
                        PO BOX 205
                        MULDROW OK 74948


                        A.C. CORPORATION
                        P.O. BOX 16367
                        GREENSBORO NC 27416-0367


                        ABG CAULKING CONTRACTORS, INC.
                        PO BOX 544
                        GOODLETTSVILLE TN 37070


                        ACCOYA
                        BRETTENHAM HOUSE
                        19 LANCASTER PLACE
                        LONDON, UNITED KINGDOM, WC2E7EN


                        ADAM HARRIS, ESQ.
                        PHELPS DUNBAR LLP
                        II CITY PLAZA
                        400 CONVENTION STREET, SUITE 1100
                        BATON ROUGE LA 70802


                        ADVANCE CONTROL SOLUTIONS
                        2061 STATE ROUTE 521
                        DELAWARE OH 43015


                        ADVANCED FIRE PROTECTION, INC.
                        PO BOX 580
                        TRAVELERS REST SC 29690


                        AE SOLUTIONS
                        PO BOX 26566
                        GREENVILLE SC 29616
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                    ALABAMA DEPARTMENT OF REVENUE
                    PO BOX 2401
                    MONTGOMERY AL 36140-0001


                    ALEC M. TAYLOR, ESQ.
                    ADAMS AND REESE LLP
                    1018 HIGHLAND COLONY PKWY, STE. 800
                    RIDGELAND MS 39157


                    AMERICAN ROOTER & PORTABLESLLC
                    PO BOX 938
                    CLEVELAND TN 37364


                    AMTECK, LLC
                    1387 E NEW CIRCLE ROAD      STE 130
                    LEXINGTON KY 40505


                    ANTHONY WILLIAMS
                    22224 W BRADIS ROAD
                    GULFPORT MS 39503


                    APPLIED THERMAL SYSTEMS, INC.
                    8401 73RD AVENUE NORTH, SUITE 74
                    MINNEAPOLIS MN 55428


                    ARBON EQUIPMENT CORPORATION
                    25464 NETWORK PLACE
                    CHICAGO IL 60673-1254


                    ARENA FIRE PROTECTION
                    PO BOX 460
                    HURLEY MS 39555


                    ASHLEA BROWN, ESQ.
                    CORPORATE COUNSEL
                    PO BOX 277
                    ROGERS AR 72757


                    AUGUSTA FIBERGLASS COATINGS
                    86 LAKE CYNTHIA ROAD
                    BLACKVILLE SC 29817


                    B&B PAINTING, INC.
                    P.O. BOX 121
                    INMAN SC 29349
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                    BARGE DESIGN SOLUTIONS
                    FOUR SHERIDAN SQUARE SUITE 100
                    KINGSPORT TN 37660


                    BATCHELOR & KIMBALL, INC.
                    P.O. BOX 70
                    LITHONIA GA 30058


                    BB & T INSURANCE SERVICES
                    PO BOX 890635
                    CHARLOTTE NC 28289-0635


                    BENISE-DOWLING & ASSOC., INC.
                    5068 SNAPFINGER WOODS DRIVE
                    DECATUR GA 30035


                    BILFINGER
                    OSKAR-MEIXNER-STRAßE 1, 68163
                    MANNHEIM, GERMANY


                    BILL ORTWEIN SIGNS, INC.
                    2806 EAST 50TH STREET
                    CHATTANOOGA TN 37407


                    BRACKEN CONSTRUCTION CO, INC.
                    PO BOX 9460
                    COLUMBUS MS 39705


                    BRADLEY ARANT BOULTCUMMINGSLLC
                    PO BOX 830708
                    BIRMINGHAM AL 35283-0709


                    BROTHERS CONSTRUCTION LLC
                    1035 S BATESVILLE RD
                    GREER SC 29650


                    BROWNLEE-MORROW CO., INC.
                    PO BOX 38008
                    BIRMINGHAM AL 35238-0008


                    BRYAN THOMAS, ESQ.
                    BRADLEY ARANT BOULT CUMMINGS LLP
                    1221 BROADWAY, SUITE 2400
                    NASHVILLE TN 37203
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                    BWC CONTRACTING, INC.
                    PO BOX 65
                    GAFFNEY SC 29342-0065


                    CAJUN INDUSTRIES, LLC
                    PO BOX 104
                    BATON ROUGE LA 70821-0104


                    CALGON CARBON COMPANY
                    3000 GSK DRIVE
                    CORAOPOLIS PA 15108


                    CAMERON S. BELL, ESQ.
                    PENN, STUART & ESKRIDGE, P.C.
                    PO BOX 2288
                    ABINGDON VA 24212


                    CANON FINANCIAL SERVICES, INC.
                    14904 COLLECTIONS CENTER DRIVE
                    CHICAGO IL 60693-0149


                    CAROLINA FOOTHILLS
                    PO BOX 1225
                    MAULDIN SC 29662-1225


                    CAROLINA IMAGING
                    P.O. BOX 19148
                    GREENSBORO NC 27419


                    CCI FLOORING SYSTEMS
                    PO BOX 25298
                    GREENVILLE SC 29616-0298


                    CERTIFIED MAINTENANCE SERVICE
                    PO BOX 9190
                    CHATTANOOGA TN 37412


                    CHATTANOOGA CRANE & HOIST, LLC
                    1026 W 19TH ST
                    CHATTANOOGA TN 37408


                    CHELSEA RAEGAN RIKARD
                    1989 S. PINE STREET
                    SPARTANBURG SC 29302
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                    CHRISTINA CRADDOCK
                    SENIOR SURETY CLAIMS COUNSEL/CLIENT
                    CORE CONTRACT EAST SURETY CLAIMS
                    PO BOX 34526
                    SEATTLE WA 98124-1526


                    CHRISTOPHER D. MEYER, ESQ.
                    BURR & FORMAN LLP
                    190 E. CAPITOL ST., STE. M-100
                    JACKSON MS 39210


                    CHRISTOPHER T. BROWN, ESQ.
                    MATTHEWS, CAMPBELL, RHOADS, MCCLURE
                    & THOMPSON, P.A.
                    119 SOUTH 2ND STREET
                    ROGERS AR 72756-4525


                    CITY OF FORT SMITH,
                    ARKANSAS FM FT. SMITH, LLC
                    901 SOUTH B STREET, SUITE 103
                    FORT SMITH AR 72901


                    CLEANSPACE, LLC
                    607 AIRPORT ROAD
                    DOYLESTOWN PA 18902


                    CLEANWATER, INC.
                    550 SYCAMORE DRIVE
                    MILPITAS CA 95035


                    CLIFTON MOSTELLER
                    TERRA MILLENNIUM CORPORATION
                    1132 S 500 W
                    SALT LAKE CITY UT 84101


                    CNA
                    DEDUCTIBLE RECOVERY GROUP
                    PO BOX 6065-02
                    HERMITAGE PA 16148-1065


                    COMPLETE RECYCLING&DEMOLITION
                    3568 HIGHWAY 41
                    RINGGOLD GA 30736
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                    CORE INSULATION CONTRACTORSLLC
                    102 W WASHINGTON STREET
                    KEARNEY MO 64060


                    CORE SAFETY GROUP LLC
                    2034 HAMILTON PLACE BLVD
                    SUITE 400
                    CHATTANOOGA TN 37421


                    COVENANT BUILDERS, INC
                    PO BOX 9730
                    GREENVILLE SC 29604


                    COVENANT BUILDING SYSTEMS
                    4528 WESTGATE PARKWAY
                    DOTHAN AL 36303


                    CRAWFORD DRYWALL
                    1432 BROAD STREET
                    ELIZABETHTON TN 37643


                    CUEVAS MACHINE COMPANY
                    5548 HIGHWAY 53
                    POPLARVILLE MS 39470


                    CUSTOM SHEET&METAL FABRICATORS
                    4017 BENNETT ROAD
                    PO BOX 9911
                    CHATTANOOGA TN 37412


                    CYRI A. VAN HECKE, ESQ.
                    WRIGHT, LINDSEY & JENNINGS, LLC
                    425 WEST CAPITOL AVE., STE. 3700
                    LITTLE ROCK AR 72201


                    CYRIL HOLLINGSWORTH, ESQ.
                    WRIGHT, LINDSEY & JENNINGS, LLC
                    425 WEST CAPITOL AVE., STE. 3700
                    LITTLE ROCK AR 72201


                    D.H. PACE DOOR SERVICES,
                    A D.H. PACE COMPANY, INC.
                    1901 E 119TH STREET
                    OLATHE KS 66061
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                    DAEDALUS INDUSTRIAL, LLC
                    223 PINE RD
                    EASLEY SC 29642


                    DAVE STEEL CO., INC.
                    P.O. BOX 2630
                    ASHEVILLE NC 28802


                    DEDUCTIBLE RECOVERY GROUP
                    PO BOX 6065 - 02
                    HERMITAGE PA 16148-1065


                    DEVON PURIEFOY, ESQ
                    TRULUCK THOMASON, LLC
                    3 BOYCE AVENUE
                    GREENVILLE SC 29601


                    DEZURIK, INC
                    PO BOX 735286
                    CHICAGO IL 60673-5286


                    DFP ACQUISITION CORP
                    DBA PEAK FALL PROTECTION LLC
                    350 GREEN OAKS PARKWAY
                    HOLLY SPRINGS NC 27540


                    DUKES, KEATING, HATTEN, MCRANEY, BLUM, P
                    ATTN: G. MARTIN WARREN, JR
                    13334 SEAWAY RD, STE 203
                    GULFPORT MS 39503


                    EASTMAN CHEMICAL COMPANY
                    200 SOUTH WILCOX DRIVE
                    KINGSPORT TN 37660


                    EDWARDS PIPING & MACHINERY, INC
                    P.O. BOX 249
                    TRAVELERS REST SC 29690


                    EGC CONSTRUCTION CORPORATION
                    30 WEST 4TH STREET
                    NEWPORT KY 41071
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                    ELDECO, INC.
                    5751 AUGUSTA ROAD
                    GREENVILLE SC 29605


                    ENGINEERED SYSTEMS, INC.
                    DEPT #5957
                    PO BOX 11407
                    BIRMINGHAM AL 35246-5957


                    EPIQ EDISCOVERY SOLUTIONS INC
                    PO BOX 674637
                    DALLAS TX 75267-4637


                    EVERETT A. KENDALL II
                    MURPHY GRANTLAND
                    PO BOX 6648
                    COLUMBIA SC 29260


                    FAITH TECHNOLOGIES, INC.
                    PO BOX 260
                    MENASHA WI 54952


                    FE MORAN SPECIAL HAZARDS SYSTEMS
                    2265 CARLSON DRIVE
                    NORTHBROOK IL 60062


                    FIRST HORIZON BANK
                    165 MADISON AVE.
                    MEMPHIS TN 38103-2723


                    FISHER SCIENTIFIC CO., LLC
                    PO BOX 404705
                    ATLANTA GA 30384-4705


                    FL CRANE & SONS
                    119 S RANKIN INDUSTRIAL DRIVE
                    FLORENCE MS 39073


                    FLUID COMPONENTS INTL, LLC
                    1755 LA COSTA MEADOWS DRIVE
                    SAN MARCOS CA 92078-5187


                    FORMAFLO, LLC
                    1110 THERESE DRIVE
                    WINCHESTER KY 40391
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                    FURNACE & TUBE SERVICE, INC.
                    13130 HWY 44
                    GONZALES LA 70737


                    G. MARTIN WARREN, JR., ESQ.
                    DUKES, KEATING, HATTEN, MCRANEY, BLUM,
                    13334 SEAWAY RD., STE. 203
                    GULFPORT MS 39502


                    GARDNER DENVER INC.
                    P.O. BOX 952453
                    SAINT LOUIS MO 63195-2453


                    GEBR PFEIFFER INC
                    18501 PINES BLVD., SUITE 208
                    HOLLYWOOD FL 33029


                    GENRIC, INC.
                    PO BOX 27036
                    NEWARK NJ 07101


                    GERALD E. BURNS
                    TWO LIBERTY PLACE
                    50 S. 16TH ST., SUITE 3200
                    PHILADELPHIA PA 19102


                    GLENN CRANE & RIGGING
                    GLENN MACHINE WORKS, INC.
                    PO BOX 1247
                    COLUMBUS MS 39703


                    GOT-RACK.COM
                    5210 CAUSEWAY BLVD
                    TAMPA FL 33619


                    GRAYBAR ELECTRIC COMPANY, INC.
                    PO BOX 403052
                    ATLANTA GA 30384-3052


                    GREEN VIEW LANDSCAPING
                    907 BELO ROAD
                    LEXINGTON SC 29072
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                    GREENVILLE COUNTY TAX COLLECTOR
                    DEPARTMENT 391
                    PO BOX 100224
                    COLUMBIA SC 29202-3224


                    GREENVILLE MECHANICAL, INC.
                    103 WOODRUFF INDUSTRIAL LANE
                    GREENVILLE SC 29607


                    GREGORY L. CAHION, ESQ.
                    SMITH CASHION & ORR, PLC
                    ONE AMERICAN CENTER
                    3100 WEST END AVE. STE. 800


                    GRETCHEN L. JANKOWSKI
                    BUCHANAN INGERSOLL & ROONEY PC
                    501 GRANT STREET, SUITE 200
                    PITTSBURGH PA 15219


                    GULF SANDBLASTING & PAINTING
                    23167 SAUCIER FAIRLEY ROAD
                    SAUCIER MS 39574


                    H.S. WILLIAMS
                    1320 HIGHWAY SIXTEEN
                    PO BOX 888
                    MARION VA 24354


                    HANKIN ENVIRONMENTAL SYSTEMS
                    1 HARVARD WAY, SUITE 6
                    PO BOX 5759
                    HILLSBOROUGH NJ 08844


                    HANOR LAW FIRM, PLLC
                    ATTN: MARK S. HANOR
                    112 WEST MAIN STREET
                    KINGSPORT TN 37660


                    HARRELL CONSTRUCTION OF GA INC
                    4185 SUNBEAM ROAD, BLDG 200
                    JACKSONVILLE FL 32257


                    HEAVY EQUIPMENT MOVERS/INSTALL
                    126 INDUSTRIAL DRIVE
                    MAYSVILLE GA 30558
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                    HERBERT T. SCHWARTZ, ESQ
                    CHRISTIAN J. STRICKLAND, ESQ.
                    SCHWARTZ, ORGLER, JORDAN & WILLIAMS, PLL
                    2137 E. PASS RD., SUITE B
                    GULFPORT MS 39507


                    HOLBROOK WATERPROOFING CO
                    191 RIO CIRCLE
                    DECATUR GA 30030


                    HONEYWELL INTERNATIONAL INC
                    12541COLLECTION CENTER DRIVE
                    CHICAGO IL 60693


                    IEM INDUSTRIAL CONTRACTORS
                    145 HENRY MC CALL RD
                    MARION NC 28752


                    IEP TECHNOLOGIES, LLC
                    32293 COLLECTIONS CENTER DRIVE
                    CHICAGO IL 60693-0322


                    INCORP INDUSTRIES, LLC
                    3020 DIEGO DRIVE
                    EVANSVILLE IN 47715


                    INDUSTRIAL MAINT & SERVICES OF BELTON
                    506 RIVER STREET
                    BELTON SC 29627


                    INFAB. LLC
                    3 QUALITY WAY
                    GREENVILLE SC 29605


                    INGENIEURSBUREAU MODERNIEK B.V.
                    BECKERINGHSTRAAT 23, 3762 EV SOEST,
                    POSTBUS 442
                    ATTN: MR. J.S. NIJMEIJER (CEO)
                    THE NETHERLANDS


                    INTEGRATED POWER SERVICES LLC
                    PO BOX 601492
                    CHARLOTTE NC 28260-1492
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                    INTERSTATE CONCRETE, INC.
                    2232 ERIC LANE
                    BURLINGTON NC 27215


                    IRON MOUNTAIN
                    P.O. BOX 27128
                    NEW YORK NY 10087-7128


                    J ROSS CONGLOMERATE, LLC
                    1696 SHIPLEY FERRY RD
                    KINGSPORT TN 37663


                    J.T. THORPE & SON, INC.
                    5342 GATEWAY DRIVE
                    GEISMAR LA 70734


                    JAKE MARSHALL, LLC
                    2912 SOUTH HICKORY STREET
                    CHATTANOOGA TN 37407


                    JANOTTA & HERNER, INC.
                    309 MONROE STREET
                    MONROEVILLE OH 44847


                    JARRELL ELECTRIC COMPANY, INC.
                    1367 COLEY STATION RD
                    COCHRAN GA 31014


                    JARROD STONE
                    MANIER & HEROD
                    1201 DEMONBREUN STREET, STE. 900
                    NASHVILLE TN 37203


                    JASON M. KIRSCHBERG
                    REYNOLDS | KIRSCHBERG
                    188 E. CAPITOL ST. SUITE 1360
                    JACKSON MS 39201


                    JNO. Z. BARTON, INC.
                    413 NORWAY STREET
                    YORK PA 17403-2531
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                    JOEL HOOVER
                    NEWLAND & ASSOCIATES, PLLC
                    2228 COTTONDALE LANE, SUITE 220
                    LITTLE ROCK AR 72202


                    JOHN P. MCMACKIN, ESQ
                    PHELPS DUNBAR LLP
                    2602 13TH STREET, SUITE 300
                    GULFPORT MS 39501


                    JOHNSON CONTROLS FIRE PROTECTION LP
                    P.O. BOX 591
                    DEPT CH 10320
                    MILWAUKEE WI 53201


                    JOHNSON CONTROLS SECURITY SOLUTIONS
                    PO BOX 371967
                    PITTSBURGH PA 15250-7967


                    JOSEPH WATSON MASONRY
                    3009 HARVEST RIDGE DRIVE
                    DECATUR GA 30034


                    JP CONSTRUCTION SERVICES, LLC
                    309 MARSHALL LANE
                    GREENEVILLE TN 37743


                    KATHERINE HANNAN, JD
                    CNA
                    1 GALLERIA BOULEVARD, SUITE 1530
                    METAIRIE LA 70001


                    KATHRYN P. GOFF
                    CARSON LAW GROUP, PLLC
                    CAPITAL TOWERS, SUITE 1336
                    125 SOUTH CONGRESS ST.
                    JACKSON MS 39201


                    KENNETH D. HALE, ESQ
                    THE HALE LAW FIRM
                    P.O. BOX 274
                    BRISTOL TN 37621-0274


                    KEYSTONE CONSTRUCTORS, INC.
                    P.O. BOX 430
                    GAFFNEY SC 29342
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                    KING INDUSTRIES
                    PO BOX 16608
                    CHATTANOOGA TN 37416


                    KOCH-GLITSCH LP
                    P.O. BOX 915034
                    DALLAS TX 75391-5034


                    LAWSON ELECTRIC CO.
                    6246 DAYTON BLVD
                    DEPT #888629
                    HIXSON TN 37343


                    LEWIS THOMASON, PC,
                    ATTN: R. LOY WALDROP, JR., ESQ
                    PO BOX 2425
                    KNOXVILLE TN 37901


                    LEXICON, INC.
                    PO BOX 95423
                    CHICAGO IL 60694


                    LIBERTY MUTUAL SURETY
                    401 PLYMOUTH ROAD
                    PLYMOUTH MEETING PA 19462


                    LITHKO CONTRACTING, LLC
                    2958 CRESCENTVILLE RD
                    WEST CHESTER OH 45069


                    LOGAN-MOORE, LLC
                    2914 DODDS AVENUE
                    CHATTANOOGA TN 37407


                    LOVELESS COMMERCIAL CONTRACTNG
                    1821 STATE STREET
                    CAYCE SC 29033


                    LUTHER – ANDERSON
                    ATTN: DANIEL J. RIPPER
                    PO BOX 151
                    CHATTANOOGA TN 37401-0151
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                    LYNN PATTON THOMPSON
                    BIGGS INGRAM & SOLOP, PLLC
                    578 HIGHLAND COLONY PKWY STE 100
                    RIDGELAND MS 39157


                    MAINTECH SYSTEMS GMBH
                    INDUSTRIE CENTER OBERNBURG
                    63784 OBERNBURG
                    DISTRICT COURT OF ASCHAFFENBURG HRB 1120
                    GERMANY


                    MARTIN BROTHERS CONSTRUCTION
                    PO BOX 302
                    GRAY COURT SC 29645


                    MASON A. GOLDSMITHM JR., ESQ.
                    ELMORE GOLDSMITH KELLEY & DEHOLL, PA
                    PO BOX 1887
                    GREENVILLE SC 29602-1887


                    MASONRY SPECIALIST CORPORATION
                    PO BOX 91496
                    CHATTANOOGA TN 37412


                    MATHIS&MULDROW LAND SURVEYING
                    13 W BOYCE STREET
                    MANNING SC 29102


                    MAX R. DEITCHLER
                    1277 E. JOYCE BLVD., STE. 300
                    FAYETTEVILLE AR 72703


                    MCGRIFF INSURANCE SERVICES
                    PO BOX 890635
                    CHARLOTTE NC 28289-0635


                    MCKEE FOODS
                    PO BOX 750
                    COLLEGEDALE TN 37315


                    MCKEE FOODS CORPORATION
                    P.O. BOX 750
                    COLLEGEDALE TN 37315
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                    MCKENZIE ELECTRIC, INC.
                    P.O. BOX 5248
                    CONCORD NC 28027


                    MCNAUGHTON MCKAY
                    P.O. BOX 890976
                    CHARLOTTE NC 28289-0976


                    MEMPHIS DOOR & HARDWARE, LLC
                    7734 POPULAR PIKE
                    GERMANTOWN TN 38138


                    METROHM USA, INC.
                    PO BOX 405562
                    ATLANTA GA 30384-5562


                    METROMONT CORPORATION
                    ATTN: ANTHONY SMITH
                    PO BOX 2486
                    GREENVILLE SC 29602


                    METTLER-TOLEDO INGOLD, INC
                    1900 POLARIS PARKWAY
                    COLUMBUS OH 43240


                    MICHAEL DELANEY
                    MCELROY, DEUTSCH, MULVANEY &AMP;
                    CARPENTER, LLP
                    P.O. BOX 2075
                    MORRISTOWN NJ 07962-2075


                    MICHASEL BEST & FRIEDRICH LLP
                    790 NORTH WATER STREET, SUITE 2500
                    MILWAUKEE WI 53202


                    MID-SOUTH ROOF SYSTEMS
                    PO BOX 45717
                    ATLANTA GA 30320


                    MIDSOUTH MECHANICAL
                    114 CORPORATE PARK E DRIVE
                    PO BOX 1283
                    LAGRANGE GA 30241
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                    MIDSTATE STEEL, INC.
                    2001 JEFFERSONVILLE RD.
                    MACON GA 31217


                    MMR CONSTRUCTORS, INC.
                    PO BOX 919205
                    DALLAS TX 75391-9205


                    MOCKBEE ELLIS, P.A.
                    125 SOUTH CONGRESS STREET
                    SUITE 1820
                    JACKSON MS 39201


                    MODERNIEK B.V.
                    BECKERINGHSTRAAT 23
                    3762 EV SOEST
                    THE NETHERLANDS


                    MOORE INDUSTRIES-INTERNATIONAL
                    16650 SCHOENBORN STREET
                    NORTH HILLS CA 91343-6196


                    NABHOLZ CONSTRUCTION CORPORATION
                    PO BOX 277
                    ROGERS AR 72757


                    NEAL J. SWEENEY
                    JONES WALKER LLP
                    3455 PEACHTREE RD NE, STE 1400
                    ATLANTA GA 30326


                    NEW SOUTH SPECIALTIES, LLC
                    6314D SUNSET BLVD
                    WEST COLUMBIA SC 29169


                    NIXON POWER SERVICES LLC
                    PO BOX 934345
                    ATLANTA GA 31193-4345


                    NORTH AMERICAN REFRACTORY CO.
                    166 ORCHARD BEACH DR.
                    NORTH EAST PA 16428
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                    O'NEAL CONSTRUCTOR DE MEXICO
                    PO BOX 10269
                    GREENVILLE SC 29603


                    O'NEAL, INC.
                    PO BOX 10269
                    GREENVILLE SC 29603


                    O'NEAL, INC.
                    10 FALCON CREST DRIVE
                    GREENVILLE SC 29607


                    OOLTEWAH NURSERY & LANDSCAPING
                    5829 OOLTEWAH-RINGGOLD ROAD
                    OOLTEWAH TN 37363


                    OSBORN CONTRACT SERVICES
                    125 SUNBELT COURT
                    GREER SC 29650


                    OWEN LAW FIRM, PLLC
                    ATTN: JANSEN T. OWEN
                    PO BOX 249
                    POPLARVILLE MS 39470


                    OWENS CORNING COMPOSITE MATERIALS, LLC
                    ONE OWENS CORNING PARKWAY
                    TOLEDO OH 43659


                    OWENS CORNING NON.WOVEN TECHNOLOGY, LLC
                    5520 PLANTERS ROAD
                    FORT SMITH AR 72916


                    PAINT-TECH PAINTING
                    615 DANA'S RIDGE DRIVE
                    ROSWELL GA 30075


                    PALMETTO GRADING & DRAINAGE
                    223 NORTHEAST DRIVE
                    SPARTANBURG SC 29303


                    PENHALL COMPANY
                    PO BOX 842911
                    LOS ANGELES CA 90084-2911
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                    PENHALL COMPANY – (413) COLUMBIA
                    ATTN: MICHAEL PRICE, LIEN ADMINISTRATOR
                    966 GAP CREEK RD
                    GREER SC 29651


                    PENNSTUART
                    ATTN: ANDREW M. HANSON
                    804 ANDERSON ST
                    BRISTOL TN 37620


                    PIEDMONT MECHANICAL, INC.
                    P.O. BOX 4925
                    SPARTANBURG SC 29305


                    PILLER BLOWERS & COMPRESSORS
                    NIENHAGENER STRASSE 6
                    37186 MORINGEN
                    GERMANY


                    POINT CONSTRUCTION ADVISORY
                    GROUP, LLC
                    802 FAIRVIEW ROAD, SUITE 4000
                    ASHEVILLE NC 28803


                    PORTER ROOFING CONTRACTORS INC
                    9057 MANCHESTER HWY
                    MORRISON TN 37357


                    PRECISION CONCRETE CONST., INC
                    2075 BRANDON TRAIL
                    ALPHARETTA GA 30004


                    PRECISION DESIGN & MACHINE,INC
                    61234 COCKRILL BEND CIRCLE
                    NASHVILLE TN 37209


                    PRIDE MASONRY OF GAFFNEY, INC.
                    PO BOX 816
                    REIDVILLE SC 29375


                    PROCESS COMBUSTION CORP
                    PO BOX 536151
                    PITTSBURGH PA 15253-5903
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                    PROCESS SERVICE GROUP, LLC
                    PO BOX 160
                    FAYETTE AL 35555


                    PROJECT COMPLIANCE, LLC
                    PO BOX 16406
                    FORT WORTH TX 76162-2406


                    QUALITY ROOFING CONTRACTORS
                    OF SE MISSOURI, INC.
                    9350 STATE HWY C
                    SENATH MO 63876


                    R. LOY WALDROP, JR. ATTORNEY AT LAW
                    LEWIS THOMASON, P.C.
                    900 S. GAY ST., SUITE 300 | P.O. BOX 242
                    KNOXVILLE TN 37901


                    REINICKE ATHENS, INC.
                    P.O. BOX 5340
                    ATHENS GA 30604


                    RENFROW BROTHERS
                    P.O. BOX 4786
                    SPARTANBURG SC 29305


                    RICHARD A. GLASSMAN, PARTNER
                    ESOP PLUS
                    15 AVENUE A
                    WESTBROOK CT 06498


                    RIVER CITY FENCE
                    6134 AIRWAYS BLVD
                    CHATTANOOGA TN 37421


                    ROBERT E. MASON & ASSOC, INC
                    P.O. BOX 33424
                    CHARLOTTE NC 28233


                    ROBERT F. SCHATZ, PARTNER
                    ESOP PLUS ATTORNEY AT LAW
                    69 HIGH RIDGE ROAD
                    WEST HARTFORD CT 06117
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                    ROBERT P. NOELL, ESQ.
                    WOOLF, MCCLANE, BRIGHT, ALLEN &
                    CARPENTER, PLLC
                    P.O. BOX 900
                    KNOXVILLE TN 37901-0990


                    ROSS CONGLOMERATE, LLC
                    915 MILLENNIUM CT
                    BLOUNTVILLE TN 37617-2002


                    ROSS GLASS & ALUMINUM, LLC
                    PO BOX 2399
                    2420 BROAD STREET
                    CHATTANOOGA TN 37409


                    S&S SPRINKLER CO LLC
                    PO BOX 7453
                    MOBILE AL 36670-7453


                    S. JOE WELBORN
                    SMITH CASHION & ORR, PLC
                    ONE AMERICAN CENTER
                    3100 WEST END AVENUE, SUITE 800
                    NASHVILLE TN 37203


                    S.E. COMMERCIAL MASONRY, INC.
                    1317 24TH AVE.
                    SUITE D
                    GULFPORT MS 39501


                    SAGE INTEGRATION
                    4075 KARG INDUSTRIAL PKWY
                    SUITE B
                    KENT OH 44240


                    SAMUEL C. KELLY
                     PO DRAWER 119
                    JACKSON MS 39205


                    SATELLITE SHELTERS, INC.
                    PO BOX 860700
                    MINNEAPOLIS MN 55486-0700


                    SAVAGE BROTHERS
                    5534 UNITED DRIVE
                    MEMPHIS TN 38118
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                    SCHENCK PROCESS, LLC
                    PO BOX 19750
                    PALATINE IL 60055-9750


                    SCHWARTZ, ORGLER, JORDAN & WILLIAMS, PLL
                    HERBERT T. SCHWARTZ, ESQ
                    2137 E. PASS RD., SUITE B
                    GULFPORT MS 39507


                    SEILER BUILDING CORPORATION
                    217 EXCHANGE AVENUE
                    MEMPHIS TN 38105


                    SERGIO I. SCUTERI, ESQ.
                    COPEHART SCATCHHARD
                    LAUREL CORPORATE CENTER
                    8000 MIDATLANTIC DRIVE, SUITE 300S
                    MOUNT LAUREL NJ 08054


                    SERGIO I. SCUTERI, ESQ.
                    CAPEHART & SCATCHARD, P.A
                    LAUREL CORPORATE CENTER
                    8000 MIDLANTIC DR., STE. 300 S
                    MOUNT LAUREL NJ 08054


                    SIDING, INC.
                    P.O. BOX 672
                    GREENVILLE SC 29602


                    SIEMENS INDUSTRY, INC.
                    C/O CITIBANK (BLDG TECH)
                    PO BOX 2134
                    CAROL STREAM IL 60132-2134


                    SILVERTIP, INC
                    PO BOX 50
                    LEWISBURG PA 17837


                    SIMPSON TRUCKING & GRADING INC
                    1364 CANDLER ROAD
                    GAINESVILLE GA 30507


                    SM LAWRENCE CO
                    245 PRESTON ST
                    JACKSON TN 38301
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                    SMARTHOMES CHATTANOOGA, INC.
                    DBA SMART SYSTEMS
                    2705 KANASITA DR
                    HIXSON TN 37343


                    SOLUTIONS IN ACTION, INC.
                    PO BOX 2465
                    BUFORD GA 30515


                    SOUTHEAST PAINTERS, INC.
                    3535 B SAINT ELMO AVE
                    CHATTANOOGA TN 37409


                    SOUTHEASTERN COMMERICAL        MASONRY
                    2225 DRAKE AVE SW #20
                    HUNTSVILLE AL 35801


                    SOUTHERN PORTABLES SERVICES
                    240 PRIDDY RD
                    LAGRANGE GA 30241


                    SPECIALTY TOWER & REVAMP SVCS
                    1547 SHIRL LANE
                    JACKSONVILLE FL 32207


                    STEEL CLAD, INC.
                    PO BOX 14510
                    GREENVILLE SC 29610


                    STONCOR GROUP, INC.
                    1000 E PARK AVE MAPLE SHADE
                    MAPLE SHADE NJ 08052


                    STONHARD, INC.
                    P.O. BOX 931947
                    CLEVELAND OH 44193


                    STOVALL PLUMBING
                    7249 SPOUT SPRINGS RD
                    FLOWERY BRANCH GA 30542


                    STRICKLAND ACOUSTICS
                    1168 TOODIES CREEK ROAD
                    BURNSVILLE NC 28714
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                    SUNBELT SUPPLY CO
                    PO BOX 951037
                    DALLAS TX 75395


                    T LUCKEY SONS, INC
                    PO BOX 520
                    HARRISON OH 45030


                    TENNESSEE WASTE HAULERS
                    PO BOX 16155
                    CHATTANOOGA TN 37416


                    THE INDUSTRIAL DEVELOPMENT BOARD
                    OF HAMILTON COUNTY, TN
                    C/O CARL E. HARTLEY BAKER DONELSON
                    633 CHESTNUT STREET, SUITE 1900
                    CHATTANOOGA TN 37450


                    THE INDUSTRIAL DEVELOPMENT BOARD
                    OF HAMILTON COUNTY, TN
                    317 OAK STREET, 201 M.L.K. BUILDING
                    CHATTANOOGA TN 37403


                    THE NEW YORK BLOWER COMPANY
                    PO BOX 88744
                    CAROL STREAM IL 60188-0744


                    THE PENTREATH CO., INC.
                    1603 SC-86
                    PIEDMONT SC 29673


                    THOMAS E. DUDLEY, III
                    KENISON, DUDLEY, & CRAWFORD, LLC
                    325 WEST MCBEE AVENUE, SUITE 301
                    GREENVILLE SC 29601


                    THOMAS E. DUDLEY, III, ESQ.
                    KENISON, DUDLEY & CRAWFORD, LLC
                    325 W. MCBEE AVE., SUITE 301
                    GREENVILLE SC 29601


                    THOMAS M. HALL, ESQ.
                    BLUEPRINT CONSTRUCTION COUNSEL LLP
                    24 FOLLINS LANE
                    SAINT SIMONS ISLAND GA 31522
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                    TOM MOYER CARPENTRY
                    1442 EADS BLUFF RD
                    GEORGETOWN TN 37336


                    TR-CITY FENCE COMPANY, LLC
                    5015 MEMORIAL BLVD
                    KINGSPORT TN 37664


                    TRAYLOR INDUSTRIAL, LLC
                    835 N CONGRESS AVE
                    EVANSVILLE IN 47715


                    TRINOVA, INC
                    4485 LAUGHLIN DR SOUTH
                    MOBILE AL 36693


                    TRUIST BANK
                    PO BOX 580057
                    CHARLOTTE NC 28258


                    TUFCO CAROLINAS, INC.
                    PO BOX 1307
                    KERNERSVILLE NC 27285


                    UNITHERM, INC.
                    PO BOX 60670
                    CHARLOTTE NC 28260


                    UNIVERSAL LIMITED, INC
                    P O BOX 610097
                    BIRMINGHAM AL 35261


                    VEGA AMERICAS INC
                    PO BOX 640162
                    CINCINNATI OH 45264-0162


                    VFP FIRE SYSTEMS
                    PO BOX 74008409
                    CHICAGO IL 60674-8409


                    VIC DAVIS CONSTRUCTION, INC.
                    1300 JAN WAY
                    KINGSPORT TN 37660
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                    VIKING AUTOMATIC SPRINKLER COMPANY
                    10203 S. 152ND ST
                    OMAHA NE 68138


                    W. EDWARD HATTEN, JR.
                    DUKES KEATING HATTEN MCRANEY BLUM PA
                    13334 SEAWAY ROAD SUITE 203
                    GULFPORT MS 39503


                    WARREN PAVING, INC.
                    PO BOX 572
                    HATTIESBURG MS 39403


                    WASTE MANAGEMENT
                    PO BOX 4648
                    CAROL STREAM IL 60197-4648


                    WESTECH ENGINEERING, INC.
                    PO BOX 65068
                    CO 81465-0068


                    WILLIAM MYERS
                    MYERS LAW GROUP, PLLC
                    122 N MCDOWELL STREET
                    CHARLOTTE NC 28204


                    WILLIAMS SIGN COMPANY
                    1399 THOMAS STREET
                    MEMPHIS TN 38107


                    WM. S. TRIMBLE COMPANY, INC.
                    2200 ATCHLEY ST.
                    KNOXVILLE TN 37920


                    WOMBLE BOND DICKINSON (US) LLP
                    PO BOX 601879
                    CHARLOTTE NC 28260-1879


                    WOOLF MCCLANE BRIGHT
                    ALLEN & CARPENTER, PLLC
                    J. FORD LITTLE
                    PO BOX 900
                    KNOXVILLE TN 37901-0900
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                    WORKSPACE INTERIORS
                    200 E MAIN ST
                    STE 300
                    KINGSPORT TN 37660


                    WRIGHT INDUSTRIAL GROUP, LLC
                    PO BOX 437
                    CHARLESTON TN 37310


                    WRIGHT INDUSTRIAL GROUP, LLC
                    ATTN: J. MITCHELL SIMPSON, EXECUTIVE VP
                    1500 LAUDERDALE MEMORIAL HWY
                    CHARLESTON TN 37310


                    YOKOGAWA CORP OF AMERICA
                    P.O. BOX 409220
                    ATLANTA GA 30384-9220
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                                         United States Bankruptcy Court
                                               District of South Carolina
 In re   O'Neal Constructors, LLC                                                   Case No.
                                                            Debtor(s)               Chapter    7




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for O'Neal Constructors, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Kevin Bean
10 Falcon Crest Drive
Greenville, SC 29607
O'Neal, Inc.
PO Box 10269
Greenville, SC 29603




o None [Check if applicable]




February 6, 2025                               /s/ Randy A. Skinner
Date                                           Randy A. Skinner
                                               Signature of Attorney or Litigant
                                               Counsel for O'Neal Constructors, LLC
                                               Skinner Law Firm, LLC
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